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KENJI M. PRICE #10523
United States Attorney
District of Hawaii

GREGG PARIS YATES #8225
Assistant United States Attorney
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
E-Mail:     gregg.yates@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                       )
          Plaintiff,                   )   UNITED STATES’S MOTION TO
                                       )   CONTINUE DEADLINE TO RESPOND
    vs.                                )   TO DEFENDANT’S TENTH MOTION
                                       )   FOR ORDER TO SHOW CAUSE;
ANTHONY T. WILLIAMS (1),               )   CERTIFICATE OF SERVICE
                                       )
          Defendant.                   )
                                       )
                                       )

   UNITED STATES’S MOTION TO CONTINUE DEADLINE TO RESPOND
    TO DEFENDANT’S TENTH MOTION FOR ORDER TO SHOW CAUSE

      Pursuant to Rule 12(c)(2) of the Federal Rules of Criminal Procedure, the

government respectfully submits this motion to continue the deadline to respond to

Defendant Anthony T. Williams’s Tenth Motion for Order to Show Cause (10th
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OSC Motion or Motion). ECF No. 555. The Motion is one of four (4) motions

filed by the defendant between August 12 and 15, 2019. See also ECF Nos. 552,

553, 554. On August 20, 2019, the Court set the hearing upon the 10th OSC

Motion for September 5, 2019. ECF No. 557. Pursuant to Local Rule 12.2(d) of

the Criminal Local Rules of Practice for the U.S. District Court for the District of

Hawaii, the government’s deadline to respond to the 10th OSC Motion is August

22, 2019.

      The government requests a seven-day continuance of the deadline to respond

to the Motion, from August 22, 2019 to August 29, 2019. This is the government’s

first request for an extension of this Motion. The defendant is representing himself

pro se; counsel for the government has not met-and-conferred with the defendant

regarding this request.

      Good cause supports the government’s request. As explained in the

government’s Notice of Compliance, dated August 5, 2019, counsel for the

government was out of the office from August 6 to August 20, 2019, and returned

to the office on August 21, 2019. Notice of Compliance 2, ECF No. 537. The

defendant filed his most recent four motions, including the 10th OSC Motion

during counsel’s absence, and the Court order setting a hearing was also issued

during this time. Counsel for the government only learned of the 10th OSC




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Motion, and the August 22, 2019 deadline to respond, upon his return to the office

on August 21, 2019.

      Additional time will be required to respond to the 10th OSC Motion. In

order to respond to the many allegations made by the defendant in the motion, the

government will need to confer with the Bureau of Prisons regarding its

compliance with the Order of this Court, dated July 30, 2019. Additional time will

also be required to confer with the Federal Bureau of Investigation, if necessary,

and to prepare a responsive brief.

      The government has been diligent in responding to the defendant’s motions

to date and requests an additional 7 days to respond to the defendant’s 10th OSC

Motion.

                                     CONCLUSION

      In sum, the government respectfully requests a continuance of seven days of

the deadline to respond to the motion to and including August 29, 2019.

                   DATED: August 22, 2019, at Honolulu, Hawaii.


                                               KENJI M. PRICE
                                               United States Attorney
                                               District of Hawaii


                                               By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney


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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Defendant to be served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820



             DATED: August 22, 2019, at Honolulu, Hawaii.


                                              /s/ Melena Malunao
                                              U.S. Attorney’s Office
                                              District of Hawaii
